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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

ST. MICHAEL’S MEDIA, INC.,
Case No.
Plaintiff,
Vv.
THE CITY OF BALTIMORE, ¢t al, PROPOSED] ORDERON = Sy //
Defend PLAINTIFF’S MOTION FOR
efendants. TEMPORARY RESTRAINING
ORDER AN3D-FOR-PRELIMINARY Ce. te
TIRE NECTION

 

 

UPON CONSIDERATION of the Motion for Temporary Restraining Order and for
Preliminary Injunction filed by Plaintiff St. Michael’s Media, Inc. requiring Defendants to instruct
Royal Farms Arena to honor its contractual obligations with St. Michael’s and not to interfere with
preparations for or the conducting of St. Michael’s planned November 16, 2021 rally in Baltimore,

Maryland, the supporting memorandum of points and authorities, the supporting declarations and

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evidence, the record in this case, and for other good cause shown:

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THE Cet HEREBY FINDS THAT; ©
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1, The Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331, 1343, 2201, 2202, and 42 U.S.C. § 1983.

2 Venue lies within this Court pursuant to 28 U.S.C. § 1391.

3 St. Michael’s is a registered 501(c)(3) nonprofit organization that publishes news
stories about societal issues and a particular focus on the misconduct and hypocrisy of the mainstream
Catholic Church. Prior to Defendants’ complained-of actions, St. Michael’s was preparing to conduct
a rally at the MECU Pavilion in Baltimore, Maryland on November 16, 2021, titled the “Bishops:
Enough is Enough Prayer Rally.”

4. Defendant The City of Baltimore is a municipal corporation duly incorporated and
authorized under the laws of the State of Maryland pursuant to its charter. The City of Baltimore is

authorized under the laws of the State of Maryland to maintain its Department of Transportation,

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which acts as the City of Baltimore’s agent for licensing, permitting, and approval of demonstrations
such as rallies.

5. Defendant James L. Shea is the City Solicitor for the City of Baltimore, Maryland. Shea
is a public official for the City of Baltimore, and has the authority to approve or deny permits for
groups of individuals to conduct rallies within Baltimore.

6. Defendant Brandon M. Scott is the Mayor of the City of Baltimore, Maryland. Mayor
Scott appointed Defendant Shea to the position of City Solicitor and has authority over Shea in
carrying out Shea’s duties as City Solicitor.

7. On June 16, 2021, St. Michael’s began making preparations to hold its “Bishops:
Enough is Enough Prayer Rally.” The MECU Pavilion, its chosen venue, is directly adjacent to the
Baltimore Waterfront Marriott Hotel, where the United States Conference of Catholic Bishops (the
“USCCB”) is scheduled to conduct its Fall General Assembly from November 15-18, 2021. Numerous
bishops and other high-ranking members of the Catholic Church will be in attendance at this event.

8. Starting on this date, St. Michael’s entered into vale contractual relationships with
Royal Farms Arena (“Royal Farms”), the contract agency hired by the City of Baltimore to manage
events at the MECU Pavilion.

9; St. Michael’s chose this time and location for its rally specifically because it would take
place at the same time and immediately adjacent to the USCCB Fall General Assembly. The purpose
of the rally is to engage in protected speech critical of the Catholic Church in a situation where it is
impossible for the Church’s leadership to ignore this speech. St. Michael’s rally is also planned to
include praying the Rosary, and thus will be an explicitly religious demonstration.

10. St. Michael’s held this same kind of rally, at the exact same location and also coinciding
with the USCCB’s Fall General Assembly, in November 2018. The City of Baltimore permitted St.
Michael’s to hold this rally, and no individuals or property was harmed during this rally.

11. Prior to August 5, 2021, Royal Farms did not indicate there would be any problems
with St. Michael’s conducting the planned rally. Relying on Royal Farms’s acceptance of the rally, St.

Michael’s paid a $3,000 deposit to Royal Farms, which it accepted and deposited. St. Michael’s then

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spent several weeks communicating with Royal Farms regarding the logistics of conducting the rally.
St. Michael’s also began publicly promoting the rally, resulting in thousands of reservations and
booking over a dozen speakers to discuss topics of interest to rally-goers.

12: On August 5, 2021, however, St. Michael’sz#eruptly received an email from Royal Cet
Farms notifying it that the rally had been canceled. It provided no explanation for this development
and told St. Michael’s to contact Defendant Shea for additional information.

13. On August 6, 2021, St. Michael’s CEO, Michael Voris, spoke with Shea regarding the
cancellation of the November 16 rally. Shea told Voris that St. Michael’s rally had been canceled due
to reports found online about St. Michael’s being present at the January 6, 2021 riot at the Capitol
building in Washington, D.C. He also claimed there was a risk of violence against either individuals or
property posed by the rally.

14. Voris denied these allegations and asked for any proof to substantiate them, which

Shea refused to provide.

    
   
   
  

15. Defendants had no factual basis to helieve S¥ Michael’s was in any way associated with
the January 6 riot or presented any risk of violence. Defendants canceled St. Michael’s rally because
they disagreed with the content of St. Michael’s speec, which was critical of the USCCB, and because 2
the USCCB asked Defendants to prevent St. Michfel’s from conducting its rally. i
16. Defendants’ cancellation of St. Mi
restriction on speech, assembly, and free exercise
Li: Defendants’ restriction is not narrow tailored to further any governmental interest.
18. St. Michael’s is likely to prevail on Moers of its claims.
19. The “loss of First Amendment freedoms, for even minimal periods of time,
unquestionably constitutes irreparable injury.” E/rod v. Burns, 427 U.S. 347, 373 (1976). Thus, if St.
Michael’s can demonstrate a likelihood of success,avhtetrtttas done, injunctive relief must issue. Sz if
20. The protection of St. Michael’s First Amendment rights is in the public interest. Ke//y

v. City of Parkersburg, 978 F. Supp. 2d 624, (S.D. W.V. 2013); see also Carey ». FEC, 791 F. Supp. 2d 121,

135-36 (D. D.C. 2011); Mullin v. Sussex Cnty., Del. 861 F. Supp. 2d 411, 428 (D. Del. 2012).

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21. The balance of equities tips in Plaintiffs favor.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff's Motion
for Temporary Restraining Order is hereby GRANTED; iN Pek Tv. él a:

IT IS FURTHER ORDERED that Defendants shall instruct Royal Farms Arena to honor its
contractual relationships with St. Michael’s; and

IT IS RSRFRER ORDERED that Defendants, their officers, agents, servants, employees,

 

shall not prevent St. Michael’s from conducting and making arrangements for its planned November

16, 2021 rally; and
IT IS FURTHER ORDERED that Plaintiff shall post a nominal bond of $250 because the
evidence indicates that Defendants will suffer minimal, if any, damage by the issuance of this

temporary restraining order.

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